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                             IN THE UNITED STATES BANUPTCY COURT

                                  FOR THE DISTRICT OF DELAWAR

In re:                                          )        Chapter 1 1
                                                )
W. R. GRACE & CO.,                              )        Case No. 01-1139 (JKF)
                                                )        Jointly Administered
                             Debtors.           )


                                        CERTIFICATE OF SERVICE


                  I, James E. O'Neil, hereby certify that on the 1 ih day of April, 2009, I caused a

copy ofthe following document(s) to be served on the individuals on the attached service list(s)

in the manner indicated:



                  CERTIFICATION OF NO OBJECTION REGARING MOTION OF
                  DEBTORS FOR ENTRY OF AN ORDER APPROVING STIPULATIONS
                  RESOLVING PROOFS OF CLAIMS OF CERTAIN PRP
                  GROUPIENTITIES PURSUANT TO THE EP A MULTI-SITE
                  AGREEMENT (DOCKET NO. 20957)




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